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                         THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1) UNITED STATES OF AMERICA,          )
                                          )
                    Plaintiff,            )
                                          )
   (2) OSAGE MINERALS COUNCIL,            )            Case No. l4-CV-704-GKF-JFJ
                                          )
                    Intervenor-Plaintiff, )
                                          )
         v.                               )
                                          )
   (1) OSAGE WIND, LLC;                   )
   (2) ENEL KANSAS, LLC; and              )
   (3) ENEL GREEN POWER                   )
   NORTH AMERICA, INC.,                   )
                                          )
                    Defendants.           )

        INTERVENOR PLAINTIFF OSAGE MINERALS COUNCIL’S MOTION FOR
                       JUDGMENT ON THE PLEADINGS
                      AND BRIEF IN SUPPORT THEREOF

          Intervenor-Plaintiff Osage Minerals Council (“the OMC”), by its undersigned counsel of

   record, submits this motion in accordance with Rule 12(c) of the Federal Rules of Civil

   Procedure (“FRCP”), seeking judgment on the pleadings with regards to certain affirmative

   defenses asserted by Defendants Osage Wind, LLC (“Osage Wind”), Enel Kansas, LLC (“Enel

   Kansas”) and Enel Green Power North America, Inc. (“EGPNA” and collectively “Defendants”).
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          I.      INTRODUCTION

          The Osage Minerals Council (“OMC”) brings this Motion for Judgment on the Pleadings,

   seeking judgment on certain affirmative defenses asserted by Defendants Osage Wind, LLC

   (“Osage Wind”), Enel Kansas, LLC (“Enel Kansas”) and Enel Green Power North America, Inc.

   (“EGPNA,” and collectively “Defendants”). In response to the Osage Minerals Council’s First

   Amended Complaint in Intervention (Dkt. 164), Defendants raised a series of equitable

   affirmative defenses that are not cognizable under federal law, but rather, sound in Oklahoma

   law alone. Specifically, Defendants’ Answer asserts the Oklahoma-based affirmative defenses of

   estoppel, laches, waiver, doctrine of unclean hands, and in pari delicto. Dkt. 174 at 15–16.

   Because the Osage Mineral Estate is a trust asset, Oklahoma law cannot usurp the rights and

   benefits the OMC receives as a trust beneficiary unless this Court determines that incorporating

   Defendants’ Oklahoma-based affirmative defenses is consistent with federal law and policy. It is

   not.

          In 1906, Congress made clear that the Osage Mineral Estate is governed by federal law,

   and not Oklahoma law (a conclusion that would be absurd since Oklahoma had not yet come into

   existence). Congress has also unequivocally stated that the framework for administering the

   Osage Mineral Estate is intended to serve the best interests of the Osage Nation—not Oklahoma,

   private landowners, or private corporations like Defendants. See e.g., Act of Mar. 2, 1929, Pub.

   L. No. 70-919, 45 Stat. 1478, 1479. Federal law and policy, as well as the specific statutes passed

   by Congress governing the Osage Mineral Estate, speak directly to the federal policy goal of

   supporting tribal self-sufficiency and strong tribal government. These federal policies cannot be

   squared with the incorporation of state law affirmative defenses that would excuse Defendants’

   trespass on the Osage Mineral Estate based on Defendants’ assertions that the OMC (or the

   United States) somehow did not tell Defendants to obey the law soon enough. Congress has


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   created no exceptions to compliance with the 1906 Act, and Congress’ considered judgment in

   this matter must be upheld.

           The law that Defendants violated was created to protect the Osage Mineral Estate as an

   Indian trust asset, over which the United States acts as a trustee. Incorporating Oklahoma-based

   affirmative defenses to excuse Defendants’ unlawful conduct, in this instance, would directly

   violate federal law and policy because it would preclude the United States from effectuating its

   duties as trustee in pursuing the protection of an Indian trust asset. Even more troublesome, such

   an incorporation of Oklahoma law would encourage other bad actors to follow Defendant’s

   example: violate federal law now, and then rely on Oklahoma law later to argue your own

   violation was somehow not your fault.

           Federal law does not recognize such exceptions with regards to a trespass on the Osage

   Mineral Estate in statute, regulation, or in caselaw, and consequently, and because Defendants’

   affirmative defenses of estoppel, laches, waiver, doctrine of unclean hands, and in pari delicto

   directly contradict the federal law that governs the administration of the Osage Mineral Estate,

   these affirmative defenses must be dismissed as a matter of law.

           II.     STANDARD OF REVIEW

           “A motion for judgment on the pleadings under Fed. R. Civ. P. 12(c) is treated as a

   motion to dismiss under Fed. R. Civ. P. 12(b)(6).” Mock v. T.G. & Y. Stores Co., 971 F.2d 522,

   528 (10th Cir. 1992); see also Fed. R. Civ. P. 12(c) (“After the pleadings are closed—but early

   enough not to delay trial—a party may move for judgment on the pleadings.”). Rule 12(c)

   motions, therefore, “are evaluated under the same standard that governs Rule 12(b)(6) motions to

   dismiss.” Mock, 971 F.2d at 528.

           “The Court will grant a motion for judgment on the pleadings if the factual allegations in

   the complaint fail to ‘state a claim to relief that is plausible on its face,’ or if an issue of law is


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   dispositive.” Progressive Northern Insurance Company v. Escoto, 2020 WL 5821965, No. 19-

   cv-00269, *2 (N.D. Okla., Sept. 30, 2020) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

   570 (2007)). Consequently, if Defendants seek to avoid judgment on the pleadings at this stage

   in the proceedings, they must “set forth specific facts showing that there is a genuine issue for

   trial as to those dispositive matters for which [Defendants] carr[y] the burden of proof.” Mock,

   971 F.2d at 528 (internal quotations and citations omitted); see also id. at 529 (courts grant Rule

   12(c) motions “only when it appears that the [nonmoving party] can prove no set of facts in

   support of the claims that would entitle the [nonmoving party] to relief.”) (internal quotations

   and citations omitted).

          Ultimately, a motion for judgment on the pleadings will be properly granted where “the

   moving party has clearly established that no material issue of fact remains to be resolved and the

   party is entitled to judgment as a matter of law.” Green v. Pershing, L.L.C., 2012 WL 5199625,

   12-CV-0296, *2 (N.D. Okla., Oct. 22, 2012) (internal quotations and citations omitted).

          III.    ARGUMENT

          As discussed in greater detail below, judgment on pleadings is warranted here since there

   is no dispute of material fact with regards to the following: (1) Defendants have trespassed on the

   Osage Mineral Estate; (2) the Osage Mineral Estate is a federal trust asset; (3) Defendants’

   affirmative defenses of estoppel, laches, waiver, doctrine of unclean hands, and in pari delicto

   sound in Oklahoma—not federal—law; and (4) incorporating these Oklahoma-based affirmative

   defenses would directly contradict federal law and policy, specifically the federal statutes Congress

   has passed governing the administration of the Osage Mineral Estate. Accordingly, the OMC is

   entitled to judgment on the pleadings as a matter of law.




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                  A. Defendants’ Wind Farm Constitutes a Continuing Trespass on the Osage
                     Mineral Estate

         There is no question that Defendants have committed—and continue to commit—a

   trespass on the Osage Mineral Estate. The Tenth Circuit Court of Appeals has ruled that

   Defendants’ “extraction, sorting, crushing, and use of minerals as part of its excavation work

   constituted ‘mineral development,’ thereby requiring a federally approved lease which Osage

   Wind failed to obtain.” United States v. Osage Wind, LLC, 871 F.3d 1078, 1081–82 (10th Cir.

   2017); see also id. at 1084 (“[W]e determine that Osage Wind’s excavation activities constituted

   ‘mining’ under § 211.3, so a federally approved lease was required under § 214.7.”).

         Following the Tenth Circuit’s determination that Defendants unlawfully intruded on the

   Osage Mineral Estate, this Court has acknowledged that the issue for adjudication in the District

   Court is “[t]he measure of damages for the trespass claim.” Dkt. 171 at 3; see also Dkt. 173 at

   14:15–16 (acknowledging that what remains is “a trespass issue with regard to the mining”).

   Accordingly, the Court is now considering “the measure of damages for trespass when a party

   comes in and takes mineral interests” from the Osage Mineral Estate. Dkt. 173 at 14:20–21.

   Time and time again, this Court has reiterated that at this point in the proceedings, “the issue

   that’s really before the court, or will be before the court, is whether or not the trespasser here is

   innocent or is not, or is a bad faith trespasser, and whether the trespasser is entitled to his mining

   costs.” Id. at 15:07–10.

         The parties and Court agree: a trespass has occurred. Now, following remand from the

   Tenth Circuit, the question that remains is one of remedy. In other words, how will Defendants’

   violation of federal law and intrusion on the Osage Mineral Estate be addressed? Defendants

   apparently agree, admitting that the Tenth Circuit’s decision in Davilla v. Enable Midstream

   Partners, L.P., 913 F.3d 959 (10th Cir. 2019) controls the Court’s consideration of the proper



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    remedy, because Davilla “involved Native American owned lands and it involved an alleged

    trespass into them.” Oct. 7, 2020 Tr. 49:15–20. That is precisely the case here.

                    B. The Osage Mineral Estate is a Federal Trust Asset

            Like Davilla, the present case presents the Court with the task of implementing the

    correct remedy for a trespass that took place, and continues to take place, on Indian trust

    property. The Osage Mineral Estate is undeniably an Indian trust asset governed and protected

    by federal law. See Osage Tribe of Indians of Okla. v. United States, 81 Fed. Cl. 340, 345 (2008)

    (The Osage Nation is “the beneficiary of the Osage mineral estate and tribal trust fund account

    created by the 1906 Act.”); Osage Nation v. United States, 57 Fed. Cl. 392, 395 (2003) (“Section

    four of the 1906 Act creates a trust fund for the Tribe and obliges the United States to hold

    mineral royalties in trust . . . .”) (citing 34 Stat. 539, 544 §§4(1) and 4(2)); United States v. Osage

    Wind, LLC, 871 F.3d 1078, 1086 (10th Cir. 2017) (The Osage Nation “owns the beneficial

    interest in the mineral estate at issue.”).

            Not only is it clear that the Mineral Estate constitutes Indian trust property, federal

    regulations actually define this trust asset as “tribal land.” See 25 C.F.R. § 224.30. The general

    provisions of the Tribal Energy Resource Agreements Under the Indian Tribal Energy

    Development and Self Determination Act (TERA) provide:

             Tribal land means any land or interests in land owned by a Tribe or Tribes, title
             to which is held in trust by the United States, or is subject to a restriction against
             alienation under the laws of the United States. For the purposes of this part,
             Tribal land includes land taken into trust or subject to restrictions on alienation
             under the laws of the United States after the effective date of the agreement.

    Id. In the agency’s comments to the final TERA rule, the BIA clarified that “the definition of

    ‘Tribal land’ includes the Osage minerals estate in its reference to ‘interests in land.’” 84 FR

    69602. Additionally, the Osage Minerals Leasing statute, 25 CFR § 226, repeatedly uses “land”

    throughout to refer to the Osage Mineral Estate. See, e.g., 25 CFR § 226.9(a) (“That the


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    Superintendent may impose restrictions as to time of drilling and rate of production from any

    well or wells when in his judgment, such action may be necessary or proper for the protection of

    the natural resources of the leased land and the interests of the Osage Tribe.”) (emphasis

    added).

              Accordingly, Defendants’ trespass on the Osage Mineral Estate constitutes a trespass on a

    trust asset “where title rests with or was derived from the Federal Government,” and as a result,

    the OMC’s trespass claim “is to be determined by federal law”—to the exclusion of Oklahoma

    law. California ex rel. State Lands Comm'n v. United States, 457 U.S. 273, 283 (1982) (emphasis

    added).

                     C. Defendants’ Affirmative Defenses Are Creatures of State, Not Federal,
                        Law

              Next, it is important to note that Defendants’ affirmative defenses of estoppel, laches,

    waiver, doctrine of unclean hands, and in pari delicto are not cognizable under federal law.

    Instead, they are purely creatures of Oklahoma law.

              In their Answer to the OMC’s First Amended Complaint, Defendants assert that “the

    relief sought by the First Amended CIR is barred by the doctrine of estoppel . . . [and] the

    doctrine of laches.” Dkt. 174 at 15. Defendants further assert that “[t]he relief sought by the First

    Amended CIR is barred by the doctrine of waiver.” Id. These state law affirmative defenses,

    however, violate the “well-established rule that a suit by the United States as trustee on behalf of

    an Indian Tribe is not subject to state delay-based defenses.” Cato v. U.S., 70 F.3d 1103, 1108

    (9th Cir. 1995). Federal courts have routinely held that estoppel and laches, specifically, are

    “defenses based upon state law” and as such, are “unavailable to [ ] defendants” under federal

    law. Cayuga Indian Nation of New York, by Patterson v. Cuomo, 565 F. Supp. 1297, 1301

    (N.D.N.Y. 1983). The same is true for waiver. See, e.g., Canadian St. Regis Band of Mohawk



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    Indians ex rel. Francis v. New York, 278 F. Supp. 2d 313, 342 (N.D.N.Y. 2003) (concluding that

    the affirmative defense of waiver is a “delay-based defense[] [and is therefore] state law based,”

    and ultimately, that “traditional state law defenses such as accord and satisfaction, unclean

    hands, and waiver [do not] have any bearing upon [an Indian] land claim action.”) (emphasis

    added).

              Defendants’ assertion that “[p]art or all of the OMC’s claims are barred by the doctrine of

    unclean hands” is likewise flawed. Dkt. 174 at 16. Again, courts routinely recognize that in

    claims regarding Indian trust property and/or lands, the affirmative defense of unclean hands is a

    creature of state, not federal, law. See, e.g., Canadian St. Regis Band of Mohawk Indians, 278 F.

    Supp. 2d at 342 (concluding that the defense of “unclean hands” constitutes a “traditional state

    law defense[]” that does not exist under federal law); Seneca Nation of Indians, Tonawanda

    Bank of Seneca Indians v. New York, No. 93-CV-688A, 1994 WL 688262, at *1 (W.D.N.Y. Oct.

    28, 1994) (dismissing “[t]he state law defense[] . . . [of] unclean hands . . . because Indian land

    claims [are] exclusively a matter of federal law.”) (internal quotations and citations omitted)

    (emphasis added).1

              Defendants’ equitable affirmative defenses sound in state, not federal, law.

                     D. Defendants’ Oklahoma-based Affirmative Defenses Cannot Be
                        Incorporated Because They Conflict With Federal Law And Policy

              Unfortunately for Defendants, “federal courts should only incorporate state rule of

    decision into federal claims to the extent those rules are consistent with federal law and policy.”

    Davilla v. Enable Midstream Partners L.P., 913 F.3d 959, 967 (10th Cir. 2019) (citing Kamen v.



              1
              The same, of course, is true for Defendants’ affirmative defense of in pari delicto, which like
    unclean hands, relies on the argument that the United States or the OMC have somehow done something
    wrong that thereby excuses Defendants’ trespass on federal Indian trust property. See Dkt. 174 at 16
    (asserting that “the OMC’s claims are barred by the doctrine of in pari delicto.”).


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    Kemper Fin. Servs., Inc., 500 U.S. 90, 98 (1991)) (emphasis added). Here, the state law that

    Defendants seek to rely on and incorporate directly contradicts governing federal law and policy.

    Defendants’ affirmative defenses of estoppel, laches, waiver, doctrine of unclean hands, and in

    pari delicto (see Dkt. 174 at 15–16) are not consistent with federal law and policy, and

    consequently, the OMC is entitled to judgment on these pleadings as a matter of law.

                           1. Incorporation of Oklahoma-based affirmative defenses is
                              inconsistent with federal law and policy governing the
                              administration of Indian trust property

           It is well-settled law that estoppel, laches, and other equitable defenses that may apply as

    a matter of state law are inconsistent with federal policy regarding enforcement of Indian

    possessory interests in land or trust assets where the United States serves as trustee. See, e.g.,

    Davilla v. Enable Midstream Partners L.P., 913 F.3d 959, 967–68 (10th Cir. 2019) (state law not

    incorporated where doing so would “effectively rob[] Indian allottees and the government of

    meaningful control over alienation.”); Swim v. Bergland, 696 F.2d 712, 718 (9th Cir. 1983)

    (laches and estoppel “not available to defeat” grazing rights granted in treaty with Tribal Nation);

    Grondal v. Mill Bay Members Ass’n, Inc., ___ F.3d ___, 2020 WL 3892462, at *26–27 (E.D.

    Wash. July 9, 2020) (no state property law defenses to trespass where lease had expired);

    Schafer, Tr. of Wayne Penn Schafer Separate Prop. Tr. Established Oct. 5, 1982 v. Centerpoint

    Energy Oklahoma Gas, No. 17-CV-365-GKF-FHM, 2018 WL 10140171, at *8 (N.D. Okla. May

    21, 2018) (“[C]ourts have analyzed the applicability of these defenses [waiver, estoppel, laches,

    and unclean hands] in the context of tribal lands and have consistently rejected them because

    they rely on the principle that a party’s conduct can validate Indian land transactions even if

    those transactions were not approved by the United States.”); Seneca Nation of Indians,

    Tonawanda Bank of Seneca Indians v. New York, No. 93-CV-688A, 1994 WL 688262, at *1

    (W.D.N.Y. Oct. 24, 1994) (striking the state law defenses of accord, satisfaction, unclean hands,


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    estoppel, laches, and waiver because their assertion would “contravene established policy

    pertaining to Indians’ ability to enforce their property rights”). Davilla v. Enable Midstream

    Partners, L.P. and United States v. Milner are especially illustrative of this point.

           In Davilla, the Tenth Circuit recognized that federal law, not Oklahoma law, governs a

    claim for trespass on federal Indian trust property. Davilla v. Enable Midstream Partners L.P.,

    913 F.3d 959, 965 (10th Cir. 2019). The Indian trust assets at issue in Davilla were Kiowa

    allotments, specifically an easement running over a strip of the individual Kiowa allotments for

    which the federally-approved lease had expired and the producer gas company neither sought

    approval from the Bureau of Indian Affairs (“BIA”) to keep the pipeline in the ground, nor

    removed the pipeline. Id. at 963–64. The defendant had obtained consent from five of the thirty-

    seven individual allotees affected and on that basis argued that it was entitled to the affirmative

    defense of consent under Oklahoma law. Id. at 966 (internal citations and quotations omitted).

           The Tenth Circuit declined to incorporate Oklahoma law to excuse the trespass,

    explaining that the prerequisites for lawful entry onto Kiowa allotment land are dictated by

    federal statute, not state law. Id. at 967 (“When it comes to maintaining a pipeline over Indian

    allotted land, however, Congress has dictated the prerequisites of a right to enter by statute.”).

    Specifically, the defendant “ha[d] no legal right to keep a structure on the [Indian lands at issue]

    unless and until it secure[d] a right-of-way for that purpose from the Secretary of the Interior.”

    Id. The Court went even further, holding that the Court “would not incorporate such a rule into

    the Allotees’ federal right of action” because “federal courts should only incorporate state rules

    of decision into federal claims to the extent those rules are consistent with federal law and

    policy” and allowing the consent defense would “frustrate federal Indian land policy.” Id. at

    967–68 (emphasis in original).




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           Similarly, in Milner, the Ninth Circuit considered actions for trespass and violations of

    the Rivers and Harbors Appropriation Act (“RHA”) and the Clean Water Act (“CWA”) brought

    by the United States on behalf of the Lummi Nation against a group of waterfront homeowners

    whose shore defense structures intersected the Lummi Nation’s “ambulatory tideland property

    boundary.” United States v. Milner, 583 F.3d 1174, 1180 (9th Cir. 2009). The Lummi Indian

    Reservation was established by the 1855 Treaty of Point Elliott, and later, expanded to include

    the tidelands of the relevant area by executive order. Id. The United States had “continuously []

    held the tidelands in trust for the Lummi Nation, pursuant to President Grant’s [1873] executive

    order.” Id. at 1181.

           The Army Corps of Engineers and the United States Attorney for the Western District of

    Washington “sent letters to the homeowners demanding removal of their defense structures

    [which sat within the Lummi tidelands] or alternatively that the Homeowners enter into

    agreements to lease the tidelands.” Id. When the homeowners failed to remove the structures, the

    United States brought suit alleging trespass, among other federal statutory claims, and the

    Lummi Nation intervened as the beneficial owner of the tidelands. Id. In Milner, the District

    Court found the homeowners liable for trespass and imposed an injunction under the RHA; the

    Homeowners appealed, challenging the lower court ruling on the trespass and statutory claims,

    as well as the provision of injunctive relief. Id. at 1182.

           In affirming the District Court’s finding on the trespass claim, the Ninth Circuit held that

    “[f]ederal common law governs an action for trespass on Indian lands.” Id. at 1182 (citing

    United States v. Pend Oreille Pub. Util. Dis. No. 1, 28 F.3d 1544, 1549 n.8 (9th Cir. 1994)

    (emphasis added). The Ninth Circuit determined that Congress had specifically recognized the




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    oceanfront boundary as a trust property of the Lummi Indian Nation and that, under federal law,

    “the Homeowners [were] liable for trespass.” Milner, 583 F.3d at 1191.

           Here, Defendants should not be rewarded for what amounts to a strategy of asking for

    forgiveness under state law, rather than for permission under the federal law that controls. It is

    notable that federal courts have declined to incorporate state law defenses even where trespassers

    have previously had authority to enter Indian land. Davilla, discussed in detail above is one

    instance. Another is Grondal v. v. Mill Bay Members Ass’n, Inc., ___ F.3d ___, 2020 WL

    3892462 (E.D. Wash. July 9, 2020). There the United States District Court, Eastern District of

    Washington, considered whether individuals who had purchased camping memberships for

    recreational use could remain after the seller’s master lease had expired. In holding that state

    property law defenses were not applicable to the United States’ counterclaim for trespass, the

    Court found both that the property was an Indian trust asset and that “[b]ecause Indian land

    claims are exclusively a matter of federal law, state property laws are preempted,” state statutes

    of limitation, adverse possession doctrines, and other state-law based defenses such as estoppel

    and laches “are similarly preempted.” Id. at *26 (citing County of Oneida v. Oneida Indian

    Nation, 470 U.S. 226, 241 (1985)).

                           2. Congress has dictated the prerequisites necessary to obtain the
                              right to enter the Osage Minerals Estate by statute

           Like the trust lands in Davilla, Milner, and Grondal, the Osage Mineral Estate is

    undeniably an Indian trust asset governed and protected by federal law according to the plain

    language of the 1906 Osage Allotment Act (“1906 Act”), federal regulations, and even federal

    court rulings. See e.g., Act of Mar. 2, 1929, Pub. L. No. 70-919, 45 Stat. 1478, 1479; see also 84

    FR 69602, 69603 (December 18, 2019) (“the definition of ‘Tribal land’ [under 25 C.F.R. §

    224.30] includes the Osage minerals estate in its reference to ‘interests in land.”); Osage Tribe of



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    Indians of Okla. v. United States, 81 Fed. Cl. 340, 345 (2008) (The Osage Nation is “the

    beneficiary of the Osage mineral estate and tribal trust fund account created by the 1906 Act.”);

    Osage Nation v. United States, 57 Fed. Cl. 392, 395 (2003) (“Section four of the 1906 Act

    creates a trust fund for the Tribe and obliges the United States to hold mineral royalties in trust . .

    . .”) (citing Osage Allotment Act, Pub. L. No. 62-125, 34 Stat. 539, 544 §§4(1) and 4(2)) (1906);

    United States v. Osage Wind, LLC, 871 F.3d 1078, 1086 (10th Cir. 2017) (The Osage Nation

    “owns the beneficial interest in the mineral estate at issue.”).

            Defendants’ Oklahoma-based affirmative defenses directly contradict the laws Congress

    has passed to govern the management and administration of the Osage Mineral Estate. The 1906

    Act’s long legislative history unambiguously demonstrates that federal policy regarding the

    Osage Mineral Estate affords the Osage Nation—acting through the OMC—and the United

    States federal government exclusive authority over the management of the Mineral Estate,

    including the determination of who may mine the Estate, if, when, and to what extent and at what

    price. See Osage Allotment Act, Pub. L. No. 62-125, 34 Stat. 539, as amended. Nothing in the

    1906 Act affords Oklahoma the right or the authority to create exceptions where mining without

    the United States and/or the OMC’s approval would be lawful, or even excused by affirmative

    defenses. Id.

          Congress established joint federal and tribal management of the Osage Mineral Estate

   when it first separated the subsurface mineral estate from the approximately 1.47-million-acre

   surface estate of the Osage Reservation and placed the Mineral Estate in trust for the Tribe in the

   1906 Act. See Osage Allotment Act, Pub. L. No. 62-125, 34 Stat. 539. While the surface estate

   was allotted to individual members of the Osage Nation for the purpose of homesteading (id. at §

   2), “oil, gas, coal, or other minerals covered by the lands” were specifically reserved to the Osage




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   Nation and held in trust by the United States. Id. at § 3. “Leases for all oil, gas, and other

   minerals” were and are to be made by the Osage Nation with the approval of the Secretary of the

   Interior. Id. at § 2.

            Congress’ purpose in creating this federal framework for management of the Osage

    Mineral Estate was simple: Congress intended for mining to take place on the Estate “in such

    quantities and at such times as may be deemed for the best interest of the Osage Tribe of

    Indians.” Act of Mar. 2, 1929, Pub. L. No. 70-919, 45 Stat. 1478, 1479 (emphasis added). Thus,

    Congress assigned management of the Osage Mineral Estate to the Osage Nation and the United

    States to benefit the Osage Nation—not the State of Oklahoma, not private surface landowners,

    and certainly not private corporations such as Defendants.

            Congress re-visited its 1906 federal framework again in 1978, when Congress amended

    the 1906 Act to clarify that the Osage Nation would maintain ownership over the Mineral Estate

    “in perpetuity.” Act of Oct. 21, 1978, Pub. L. No. 95-496, § 2(a), 92 Stat. 1660, 1660. And in

    furtherance of its responsibility to manage the Osage Mineral Estate in the best interest of the

    Osage Nation, the Department of the Interior has since promulgated regulations to address the

    regulatory process that governs leasing and mining of the Mineral Estate, including 25 CFR

    § 214.7—which the Tenth Circuit concluded Defendants have violated. United States v. Osage

    Wind, LLC, 871 F.3d 1078, 1081–82 (10th Cir. 2017).2




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               It should also be noted that the Tenth Circuit has already considered, and dismissed,
    Defendants’ equitable affirmative defense of laches. See United States v. Osage Wind, LLC, 871 F.3d
    1078, 1087 (10th Cir. 2017) (“We decline to dispose of the case on the equitable doctrine of laches. The
    United States commenced this action within three months after turbine excavation work began, which is
    not an unreasonable amount of time to wait before filing suit.”). Thus, even if this Court were to conclude
    that the incorporation of state law affirmative defenses is appropriate, Defendants should not be permitted
    to pursue their affirmative defense of laches, as that defense was squarely declined by the Tenth Circuit.


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           Had Congress intended for state law to be incorporated into the 1906 Act, Congress

    would have done so. For example, although the 1906 Act was enacted before the State of

    Oklahoma was founded, Congress knew how to make allowances for the development and

    application of state law going forward, and could have done so here, had Congress so desired.

    For instance, in the 1906 Act itself, Congress provided that “the laws of the Territory of

    Oklahoma, or of the State in which said reservation may be hereinafter incorporated” would

    govern most inheritance situations for Osage Nation citizens. Osage Allotment Act, Pub. L. No.

    59-320, § 6, 34 Stat. 539, 545. Similarly, after statehood, Congress amended the 1906 Act to

    incorporate “the laws of the State of Oklahoma” for competency determinations for Osage

    Nation citizens. Act of Apr. 18, 1912, Pub. L. No. 62-125, § 3, 37 Stat. 86, 86. However, despite

    having enacted multiple amendments that specifically address the Osage Mineral Estate,

    Congress has, for 114 years, repeatedly declined to incorporate Oklahoma law into provisions

    governing the Osage Mineral Estate. See, e.g., Act of Mar. 2, 1929, Pub. L. No. 70-919, 45 Stat.

    1478, 1479; Act of Oct. 21, 1978, Pub. L. No. 95-496, § 2(a), 92 Stat. 1660, 1660. It should go

    without saying that incorporating state law where Congress has repeatedly declined to do so

    would be in contravention not only of federal policy generally, but also of Congress’s specific

    intentions for the Osage Mineral Estate.

           And in this instance, Congress’ intentions are paramount, since it is Congress—and not

    the Oklahoma courts—that maintains exclusive authority to legislate with respect to Indian

    Tribes. See Michigan v. Bay Mills Indian Cmty., 572 U.S. 782, 788 (2014) (The Supreme Court

    has “consistently described [Congress’s authority] as ‘plenary and exclusive’ to ‘legislate [with]

    respect to Indian tribes.’”) (quoting United States v. Lara, 541 U.S. 193, 200 (2004)). This

    exclusive authority is at its height when the matter concerns the federal government’s duties as




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    trustee since, as the Supreme Court has explained, “[t]he Government, of course, is not a private

    trustee,” and as a result, “[t]he trust obligations of the United States to the Indian tribes are

    established and governed by statute.” United States v. Jicarilla Apache Nation, 564 U.S. 162,

    165, 173–74 (2011).

            Accordingly, federal courts do not permit state law to displace Congress’ considered

    statutory judgment. “This is especially so because the Government has often structured the trust

    relationship to pursue its own policy goals.” Id. at 175. Accordingly, the “management of the

    trust is a sovereign function subject to the plenary authority of Congress”—to the exclusion of

    state courts and the common law they create. Id.; Cherokee Nation v. Hitchcock, 187 U.S. 294,

    308 (1902) (“The power existing in Congress to administer upon and guard the tribal property,

    and the power being political and administrative in its nature, the manner of its exercise is a

    question within the province of the legislative branch to determine, and is not one for the

    courts”).

            Federal courts, therefore, routinely dismiss, as a matter of law, affirmative defenses

    raised to exculpate those who trespass on Indian trust property and/or lands over which the

    United States maintains its status as trustee. See, e.g., State of New Mexico v. Aamodt, 537 F.2d

    1102, 1110 (10th Cir. 1976) (“Estoppel does not run against the United States when it acts as

    trustee for an Indian tribe”); see also United States v. Ahtanum Irr. Dist., 236 F.2d 321, 334 (9th

    Cir. 1956) (explaining that defenses of laches or estoppel were not available against the

    Government when the Government acted as trustee for an Indian Tribe). Here, the United States

    is acting as a trustee for the OMC, and incorporating Defendants’ equitable affirmative defenses

    directly contradicts the federal law and policy governing the United States’ trust duties and




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    obligations owed to the Osage Nation. On this basis alone, Defendants’ equitable affirmative

    defenses must be dismissed.

           Ultimately, Defendants’ trespass on the Osage Mineral Estate must be treated like any

    other trespass on Indian lands and/or tribal trust property. Not doing so would undercut one of

    Congress’ primary goals in the area of federal Indian law and policy, tribal self-sufficiency and

    strong tribal government. See Act of Dec. 3, 2004, Pub. L. No. 108-431, § 1(a)(5), 118 Stat.

    2609, 2609 (“A principle goal of Federal Indian policy is to promote tribal self-sufficiency and

    strong tribal government.”). Tribal governments are not “strong” when bad actors are permitted

    to violate tribal law and tribal sovereignty by asserting equitable defenses that neither federal nor

    tribal law allow. Both federal and tribal law required Defendants to obtain a lease. Defendants

    chose not to. Allowing Defendants to assert Oklahoma-based affirmative defenses here would

    incentivize other bad actors to violate Osage and federal law now, and then argue Oklahoma-

    based affirmative defenses later. To allow Defendants to escape the consequences of their actions

    through reliance on state law would, undoubtedly, cause great damage to the Osage Nation’s

    self-sufficiency and strength as a tribal government.

           Allowing Defendants to assert Oklahoma-based affirmative defenses directly contradicts

    Congress’ law and policy governing the Osage Mineral Estate, and accordingly, judgment should

    be granted as a matter of law in the OMC’s favor.

           IV.     CONCLUSION

           There is no question that the Osage Minerals Estate constitutes federal Indian trust

    property, and in this instance, “Congress has dictated the prerequisites of a right to enter by

    statute.” Davilla, 913 F3d at 967. There is also no question that Defendants violated that right

    when they refused to get the lease that federal law required. Defendants’ trespass on the Osage

    Mineral Estate thus constitutes a trespass on a trust asset where title rests with or was derived


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    from the Federal Government, and as a result, the OMC’s trespass claim is to be determined by

    federal law—to the exclusion of Oklahoma law. For the reasons stated above, the OMC

    respectfully requests that the Court grant its motion for judgment on the pleadings and dismiss

    the Defendants’ affirmative defenses of estoppel, laches, waiver, doctrine of unclean hands, and

    in pari delicto.

                                                        Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

           I hereby certify that on November 13, 2020, I electronically transmitted the foregoing
    document to the Clerk of the Court using the ECF system for filing and transmittal of a Notice of
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